Case 2:17-cv-00152-GJQ-TPG ECF No. 34 filed 02/01/18 PageID.331 Page 1 of 25



                         IN THE UNTIED STATES DISTRICT COURT

                       FOR THE WESTERN DISTRICT OF MICHIGAN

                                       NORTHERN DIVISION



  MICHELLE MARIE LEFEBRE,            Case No. 2-17-cv-00152-GJQ-TPG
  PERSONAL REPRESENTATIVE OF THE
  ESTATE OF SHELLSEA BLAIR LEFEBRE-SCHIEL,

                      Plaintiff,

                       -Vs-

  REMINGTON ARMS COMPANY, LLC.

                 Defendant.
  __________________________________________________________________/

       PLAINTIFF’S COMBINED RESPONSE AND BRIEF IN OPPOSITION TO
         DEFENDANT’S MOTION TO DISMISS 1st AMENDED COMPLAINT

                                   Oral Argument Requested

         Plaintiff by leave granted filed a Six-Count Wrongful Death Complaint: Negligence

  and Gross Negligence for Failure to Promptly Warn of Highly Dangerous Product, Negligent

  Design/Manufacture, Breach of Implied Warranty of Merchantability, Breach of Express

  Warranty, Count Violation of Michigan Consumer Protection Act (M.C.L. 445,903(s) and

  Count VI: Violation of Magnuson-Moss Act (15 U.S.C. §2301). Defendant has moved to

  dismiss under Rule 12 (B) (6) frivolously relying on 15 USC § 7901, et seq. The motion

  should be denied.

                                      INTRODUCTION

         Shellsea Lefebre, age 12, was killed on September 21, 2014 on Drummond Island

  while on a special DNR youth deer-hunting weekend with her father, Jose’ Lefebre



                                                 1
Case 2:17-cv-00152-GJQ-TPG ECF No. 34 filed 02/01/18 PageID.332 Page 2 of 25



  (Lefebre). Nathan Ernst and his younger sister had joined in the camping hunt. Lefebre had

  been road hunting alone early that morning with his loaded Remington Model 700 rifle.

  Unknown to him, the rifle’s safety lever caught on a phone charger cord as he put the rifle in

  the vehicle or later re-positioned it causing the safety lever to move forward from the ‘Safe’

  position. Driving with a loaded Model 700 even with the safety in the ‘Fire’ position

  ordinarily would pose no real risk because Remington rifles are designed to fire only when

  the trigger is pulled. Notwithstanding the statute prohibiting transport of a loaded firearm,

  Lefebre could have safely driven all over the U.P and the rifle would not have fired as long

  as no one pulled the trigger. Lefebre’s rifle, however, had been defectively manufactured,

  although he had no way of knowing it; it could fire without the trigger pulled.

         Shellsea rode with her father later that morning seated in the right front seat of the

  Toyota four- door pickup. She and her father later met up with the other two. The group

  decided to drive to town for lunch. Ernst got into the right front seat with his sister behind.

  Shellsea got into the left rear seat. They drove the dirt road from camp for no more than five

  minutes before the rifle unexpectedly fired. The bullet stuck Shellsea killing her instantly.

  No one was touching the rifle when it suddenly discharged. No one had pulled the trigger.

         Lefebre, a 100% disability-retired career Coast Guard chief petty officer, didn’t know

  Michigan law prohibited the transportation of a loaded firearm in a vehicle. But more

  importantly, he was completely unaware the Model 700 rifle he purchased new in 2010 was

  dangerously unfit for ordinary use because the X-Mark Pro fire control (trigger mechanism)

  was negligently assembled so as to allow the rifle to fire without a trigger pull.

         Remington began marketing XMP Model 700 rifles in May 2006. During assembly,

  a thread locking bonding agent (Loctite 660) by design was to be applied in a small amount



                                                  2
Case 2:17-cv-00152-GJQ-TPG ECF No. 34 filed 02/01/18 PageID.333 Page 3 of 25



  inside the blocker screw thread compartment to permanently set the screw to a pre-

  determined position. The blocker screw was an important component of the fire control’s

  safety mechanism. The screw head butts up to the trigger block preventing forward trigger

  movement when the safety is on. Do to faulty assembly and lax quality control excess Loctite

  was applied outside the thread compartment and remained uncured causing the blocker

  screw head to intermittently stick to the trigger block pulling it forward and firing the rifle

  when the safety lever was moved forward from the ‘Safe’ to the ‘Fire’ position. (1st Amend

  Comp Ex 5 & 6 –Doc # 29) are photos 1of an exemplar XMP fire control.) 2

          Information gathered indicates approximately 5,800 XMP rifles were returned to

  Remington from 2006 thru April 2014, many with owner complaints of non-trigger pull

  discharge. The rifles were superficially inspected and cleaned. But, the fire control blocker

  screw compartment was never closely inspected for signs of defective manufacture or

  assembly. Rather, the fire control in most instances was simply replaced with a new control

  and the rifle was returned at no cost with a note: “Could not duplicate concern.”

          Michael Breeze returned his new Model 700 in December 2010 with a video (1st

  Amend Comp Ex 7 - Doc # 31 ) of his rifle firing when the safety lever was moved from

  ‘Safe’ to ‘Fire’ and also firing when the bolt handle was lifted. Although the Breeze video

  removed all doubt (or should have) that something was wrong with the XMP fire control,

  Remington did nothing for the next four years to attempt to seriously determine the cause.

  1
    The open compartment window is visible on the side of the fire control. Photo 6 shows the blocker
  screw butting up to the trigger block when the safety is in the’ Safe’ position. Photo 5 shows the
  head of the screw separated from the trigger block when the safety is in the ‘Fire’ position. The
  separation allows the trigger block to move forward when the finger trigger is pulled. The forward
  movement disengages the sear above allowing the firing pin to spring forward and strike the rear of
  the cartridge. There was no excess Loctite in fire control featured in these two photos. The excess
                                                                                              st
  Loctite on the defective fire controls was visible on inspection with light magnification. 1 Amen
  Comp Ex 4 – Doc #29) is a drawing of typical fire control components.
  2 st                                                              st
    1 Amen Comp Ex is the identifier for Exhibits filed with the 1 Amended Complaint. Brief Exhibit
  identifies any exhibit filed with this Brief.

                                                   3
Case 2:17-cv-00152-GJQ-TPG ECF No. 34 filed 02/01/18 PageID.334 Page 4 of 25



         There was something very wrong with the XMP fire control because Remington had

  designed the rifle according to the industry standard that “no rifle should fire unless the

  trigger is pulled.” There was also something even more wrong with Remington’s wanton

  decision to stay silent and not warn owners of the danger when, as will be explained later, it

  would have been so easy to do. But that would involve a recall of 1,000,000+ rifles and

  would cost money. So, Remington did nothing and said nothing preferring not to give a damn

  if a defective rifle maimed or killed someone.

         Remington’s silence allowed a 2011 triple tragedy in North Carolina. A Model 700

  owner was handling his rifle at home when it shockingly discharged without a trigger pull.

  The .308 caliber bullet went thru a window striking a young girl as she walked out of her

  home across the street. She died instantly. The bullet then exited and severely wounded the

  girl’s sister walking behind. If that wasn’t enough, the bullet then struck and severely injured

  an aunt walking behind the second girl. A lawsuit followed in 2013.

         One would think this tragedy, others reported, the 2010 Michael Breeze video and a

  string of returned rifles over six years would have moved Remington to seriously investigate

  the XMP fire control. But that didn’t happen. Derek Hawkins, a Remington engineer, was

  deposed in the triple tragedy case 3. His answer to a straight forward question sheds some

  light on why Remington refused to admit the XMP fire control was defective.

      Q: Now, Remington people do not like to admit that the rifle fired without the trigger
  being pulled, do they?
      A: No

         Remington’s hard core seven-year denial of the obvious XMP defect was really a

  continuation of a profit protecting corporate culture that for 50 years despicably denied the

  3
    McNeal vs Remington Arms Company. Dale Wills who appears for Remington in the instant case
  also appeared for Remington in that case. He was present during the Watkins’ deposition and also
  the deposition of Dan Ronkainen, the XMP design engineer. He participated in both depositions.

                                                   4
Case 2:17-cv-00152-GJQ-TPG ECF No. 34 filed 02/01/18 PageID.335 Page 5 of 25



  inherent defect in the Walker fire control that was used exclusively in 1st generation Model

  700 rifles that began manufacture in 1962 until replaced in 2006 with the XMP Model.

         The Walker fire control had a quirky design feature found in no other modern fire

  control design that allowed field debris and firing residue to accumulate over time and then

  interfere with the critically important reset of trigger-sear engagement. This made the Walker

  rifle prone to firing when the safety was moved forward from ‘Safe’ to ‘Fire’. And to make

  things more dangerous, Walker rifles (until 1989) could only be loaded or unloaded when the

  safety lever was moved forward to the Fire position. There were two dozen reported Walker

  related deaths over the years and 147 injury/death lawsuits.

         One noteworthy Walker suit involved a South Dakota hunter killed when his Model

  700 discharged when the safety was moved to the ‘Fire’ position. The surviving widow

  destroyed the rifle before she hired the right lawyer after by chance viewing “Remington

  Under Fire”, the 2010 CNBC documentary that exposed the defective Walker rifles.

  Remington argued plaintiff could not prove the 1971 manufactured rifle was in original

  condition. The district judge agreed and granted summary dismissal. The 8th Circuit reversed

  and in the course of the appeal used Remington’s own records to indict the company.

  O’Neal v Remington Arms Company, 803 F. 3rd 974 (8th Cir 2015)

  “Remington manufactured the Model 700 .243 caliber bolt-action rifle involved in this case
  in 1971. Remington used a trigger mechanism in its Model 700 rifles called the Walker
  trigger, named after the engineer who designed the mechanism. Remington knows the Walker
  trigger can cause Model 700 rifles to fire a round when the safety lever is released from the
  safe position to the fire position, without the trigger being pulled. The defect results from the
  manner in which two components of the trigger mechanism – the sear and the connector-
  interact with one another coupled with the lack of a physical attachment between the
  connector and the trigger itself. ”

  Remington knew about this problem as early as 1979. The record in this case includes the
  minutes from a Remington product safety subcommittee meeting dated January 2, 1979. Jt.
  App.at 624-28. The subcommittee minutes discuss the inspection procedures Remington

                                                 5
Case 2:17-cv-00152-GJQ-TPG ECF No. 34 filed 02/01/18 PageID.336 Page 6 of 25



  initiated on all bolt action rifles beginning in 1975, including the Model 700. Based in part
  upon the inspection of rifles returned to Remington for repairs, Remington acknowledged
  that Model 700 riles manufactured prior to 1975 can be “tricked into firing when the safety
  lever is released from the ‘safe’ position” without pulling the trigger. Id.at 624. Remington
  estimated that at least 1% of the two million Model 700 rifles it had manufactured prior to
  1975- or 20,000 rifles- would inadvertently fire merely by releasing the safety (i.e., moving
  the lever from the safe position to the fire position) without pulling the trigger. Id. at 627.
  Remington decided against recalling the Model 700 rifles, though, because “the recall would
  have to gather 2,000,000 guns just to find 20,000 that are susceptible to this condition. Id at
  627.
           “We agree with O’Neal that a rifle originally manufactured in this condition, which
  allows for the possibility of the rifle discharging without pulling the trigger, is defective and
  not fit for its ordinary purpose.” See Powell Report, Jt. App. At 586; cf. Lewy v. Remington
  Arms Co., 836 F. 2nd 1104, 1106-08 (8th Cir. 1988)(reviewing a products liability action
  against Remington which included a claim alleging this same defect in Model 700 rifles and
  noting “there was sufficient evidenced from which the jury could find that Remington knew
  the [Model 700 rifle] was dangerous”). Emphasis Added

          Between 1991 and 2004, Remington’s records revealed 3,273 customer complaints of

  Walker rifles firing without a trigger pull; an average of approximately 5 unintended firings

  per week for 13 years. (Count I at ¶ 48)

          The sordid Walker trigger history (Id at ¶¶ 45-56) supports Plaintiff’s claim for

  exemplary damages for Remington’s corporate policy that thumbed its nose at Michigan law

  that required Jose' Lefebre and other Michigan XMP owners to be warned promptly of the

  rifle’s latent life-threatening defect.

          The history of Remington’s continued production of dangerous Walker-equipped

  rifles and its steadfast denial of the inherent defect can be viewed in Brief Exhibit 1, the

  2010 CNBC documentary: “Remington Under Fire”.

      A class action suit in January 2013 was filed against Remington in the Western District

  of Missouri to force a recall of all Walker trigger bolt-action rifles. (Pollard v Remington

  Arms, et al, Case No. 13-CV-00086 (W.D. Missouri). Remington’s defensive bubble burst




                                                 6
Case 2:17-cv-00152-GJQ-TPG ECF No. 34 filed 02/01/18 PageID.337 Page 7 of 25



  five months later when the District Judge denied a motion for summary judgment (Id at Doc.

  # 40) which guaranteed the class would be certified and recall relief granted.

      Remington threw in the towel July 2014 deciding after some 50 years of stonewalling the

  issue to agree to recall all bolt-action rifles and replace the Walker fire trigger with the

  XMP. 4 But that meant Remington had to find out what was causing XMP rifles to misfire.

      While caught up in the Pollard class action suit, Remington in March 2014 received a

  Model 700 XMP rifle from a Mr. Otto with a You Tube video (1st Amend Comp - Ex 8 -

  Doc # 31) showing the rifle firing when the safety was moved from S” to “F”.

          The Otto rifle and video were forwarded to a Remington engineer who began a

  serious investigation. He was able to duplicate the Otto misfire under certain conditions. He

  also duplicated the discharge in rifles Remington had in its inventory. A magnified inspection

  of the blocker screw compartment revealed excess Loctite 660 causing the screw to stick to

  the trigger block and fire the rifles when the safety lever was moved forward to ‘Fire’. 5 It

  was time to act! But why the 2010 Michael Breeze video or the North Carolina triple tragedy

  and reported injury cases didn’t prompt the same type of investigation remains unanswered.

      Remington immediately shut down XMP rifle production. Changes were made to the

  XMP design, assembly and quality control. A Product Safety Warning and Notice of Recall

  (1st Amend Comp Ex 9 - Doc # 29) was created to warn unsuspecting users.

      •   “Remington has determined that some Model 700 rifles with XMP triggers could
          under certain circumstances unintentionally discharge. A Remington investigation
          has determined that some XMP triggers might have excess bonding agent used in the
          assembly process.


  4
    Remington joined the Plaintiffs on July 2, 2014 filing a Joint Notice of Settlement informing the court
  that the parties had reached a nationwide class settlement.
  5
    The investigation also revealed other issues that required changes to the design. Remington
  learned that the manufacturer of Loctite did not intend formula 660 to be used as a “thread locker”.
  The correct thread locker was Loctite 263.

                                                      7
Case 2:17-cv-00152-GJQ-TPG ECF No. 34 filed 02/01/18 PageID.338 Page 8 of 25



     •   STOP USING YOUR RIFLE”. Any unintended discharge has the potential to cause
         injury or death. Immediately cease use of recalled rifles and return them to
         Remington free of charge.”

         Remington didn’t mince words. But the blunt language proved useless because

  Remington never published the warning in a manner that would effectively get to XMP

  owners. The warning was published on the company web page no one looked at. The

  company thumbed its nose at Michigan law that clearly required prompt notice to purchasers.

  Whether or not Remington management or legal department knew of their duty to warn

  under the Comstock decision is unknown. Regardless, ignorance of the law is no excuse.

         Comstock v General Motors Corp., 358 Mich. 163, 177078, 99 N.W. 2nd 627,634-35

  (1959): (A) affirmed case law requiring manufactures (at least in Michigan) to warn of

  defects known at the time of sale and (B) extended the rule by holding “a like duty to give

  prompt warning exists when a latent defect which makes the product hazardous to life

  becomes known to the manufacturer shortly after the product has been put on the market.”

  (Emphasis added)

     As the nation’s oldest firearm dealer, Remington had to have known that its dealers were

  required by federal law to fill out an ATF Form 4473 for every over-the-counter firearm sale,

  file the Form with ATF, and keep the Form for 20 years as required by 27 CFR 478.129.

  Remington needed only to request its dealers to return copies of the 4473’s for all XMP

  Model 700 sales to get the name and address of every XMP purchaser and then directly send

  the Product Safety Warning to each by certified and regular US mail.

     Remington had all of May, June, July, August and half of September to warn Lefebre in

  this fashion. His home address hadn’t changed. Lefebre would have headed Remington’s

  Product Safety Warning as he states in his evidentiary affidavit. (Brief Exhibit 2)



                                                8
Case 2:17-cv-00152-GJQ-TPG ECF No. 34 filed 02/01/18 PageID.339 Page 9 of 25



  “My home address today is the same as it was in 2010 when I bought the Model 700 rifle at
  Mackinaw Outfitters.”

  “I had no reason to believe when I bought the Model 700 rifle or at any time afterwards that
  it would fire without the trigger being pulled. I had never heard of such a thing. I had no
  knowledge before going to Drummond Island on September 20th that Remington had issued a
  recall warning that the Model 700 was defective, unsafe and could fire without anyone
  pulling the trigger.”

  “I can state positively that I would not have used the rifle or brought it to Drummond Island
  that weekend had I learned of Remington’s Product Safety Warning and Notice of Recall. I
  would have sent the rifle back to the company for any servicing to make it safe for handling.”

  “I can state with absolute certainty that I didn’t pull the trigger and neither did Nathan
  Ernst. Neither my hand nor his was touching the rifle when it fired as I was driving the
  truck.”

         Counsel’s diligence led to Sarah Grant, a former manager at the Mackinaw Outfitters

  store where Lefebre purchased the rifle that killed his daughter. Grant’s affidavit (Brief

  Exhibit 3) has Lefebre’s Form 4473 attached. (Brief Exhibit 3-A) She tells how simple it

  would have been for Remington to get Lefebre’s contact data.

  1. I held a management position at Mackinaw Outfitters, a sporting goods retailer located
     in the Mackinaw Crossing shopping mall in Mackinaw City, MI. Mackinaw Outfitters
     opened for business in 2006 and the same year it became a licensed dealer for Remington
     Firearms.

  2. Although Mackinaw Outfitters closed in December 2012, the Mackinaw Crossing Mall
     remained in operation. I stayed on in a management capacity at the on-site Mackinac
     Crossing office. Any mail sent to Mackinaw Outfitters in 2013 or 2014 would have been
     post office forwarded to our management office at the mall and would have come to my
     attention.

  3. The important business records of Mackinaw Outfitters, including records documenting
     sales of Remington firearms, were retained and kept at the Mackinaw Crossing office
     under my administrative control until approximately October or November 2014 when
     those records were moved to Springfield, MO for storage. Included were the records of
     Remington firearm sales.

  4. If a representative of Remington Arms had contacted Mackinaw Outfitters prior to its
     December 2012 closing explaining that it was recalling defective Model 700 rifles
     manufactured since 2006 and needed Mackinaw Outfitter’s cooperation and copies of its
     firearm sales records to identify the name and address of Model 700 Michigan

                                                 9
Case 2:17-cv-00152-GJQ-TPG ECF No. 34 filed 02/01/18 PageID.340 Page 10 of 25



      purchasers, we would have been happy to comply with the request and help out. And it
      wouldn’t have taken take very long to get the sales records to Remington.

   5. Likewise, if Remington Arms had sent written notice to Mackinaw Outfitters between
      December 2012 and August 2014 or in any fashion had contacted our Mackinaw
      Crossing office making the same request, we would have complied and sent our records
      to Remington.

      Had the rifle not been defective, Shellsea Lefebre would have been a safe passenger in

   her father’s vehicle regardless that the rifle was loaded. Remington’s intended design called

   for the XMP rifle to fire only when the trigger was pulled. Had the rifle been built to

   specifications, Lefebre could have driven all day with the rifle loaded without any risk of

   firing and Shellsea today would be living. Had Remington promptly warned Lefebre as

   required by law and mailed its Product Safety Warning at any time during the 5 months

   preceding that tragic hunting weekend, Shellsea would also be living today.

      Remington’s failure to obey the law and warn is inexcusable. There are no questions of

   fact to cause denial of a planned Rule 56 motion for summary judgment of liability under

   Count I: Negligence and Gross Negligence for Failure to Promptly Warn.

          COUNTERSTATEMENT OF THE GOVERNING LEGAL STANDARD

      In evaluating a motion to dismiss under FRCivP 12(b) (6), “all well-pleaded material

   allegations of the pleadings of the opposing party [here, plaintiff] must be taken as true, and

   the motion may be granted only if the moving party is nevertheless clearly entitled to

   judgment” as a matter of law. JPMorgan Chase Bank, N.A. v. Winget, 510 F.3d 577, 581-82

   (6th Cir. 2007) (quoting S. Ohio Bank v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 479

   F.2d 478 (6th Cir. 1973)). The Complaint must also be interpreted in the way most favorable

   to the plaintiff. Saab Auto. AB v. General Motors Co., 770 F.3d 436, 440 (6th Cir. 2014).




                                                 10
Case 2:17-cv-00152-GJQ-TPG ECF No. 34 filed 02/01/18 PageID.341 Page 11 of 25



      To survive a Rule 12(b) (6) motion to dismiss, a plaintiff must provide “enough facts to

   state a claim [for] relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.

   544, 570 (2007). A claim has facial plausibility when the complaint’s factual content is

   sufficient to “allow the court to draw the reasonable inference that the defendant is liable for

   the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Probability is not

   required, but there must be more “than a sheer possibility that a defendant has acted

   unlawfully.” Id. In analyzing the defendant’s motion, the court accepts all factual allegations

   in the complaint as true and draws all reasonable inferences in the plaintiff’s favor. Logsdon

   v. Hains, 492 F.3d 334, 340 (6th Cir. 2007).

                                          15 USC § 7901

          Remington refuses to recognize that 15 USC §7901 et seq protects manufacturers

   only where an injury was caused by a firearm that functioned as intended by the

   manufacturer’s design. This clearly is not the case here.

          The Congressional Findings cited in advance of the statute text to explain the history

   and purpose reveals the narrow congressional intent to bar lawsuits against manufacturers

   only when a firearm “operate as designed and intended”

      § 7901 (a) (3) “Lawsuits have been commenced against manufacturers …. of firearms

   that operate as designed and intended which seek money damages caused by the misuse of

   firearms by third parties, including criminals.” (Emphasis added)

      §7901 (a) (5) repeats the narrow scope of the Act. “Businesses in the United States that

   are engaged in interstate .... commerce through the lawful design, manufacture … or sale to

   the public of firearms …are not and should not, be liable for the harm cause by those who




                                                  11
Case 2:17-cv-00152-GJQ-TPG ECF No. 34 filed 02/01/18 PageID.342 Page 12 of 25



   criminally or unlawfully misuse firearm products that function as design and intended.”

   (Emphasis added)

       §7901 (a) (6) repeats the narrow scope of the Act. “The possibility of imposing liability

   on an entire industry for harm that is solely caused by others is an abuse of the legal

   system.” (Emphasis added)

            The narrow Congressional “Purpose” of the Act is apparent; two tests must be

   satisfied before a firearm manufacturer can be protected: (1) the “harm” done was solely

   caused by criminal or unlawful misuse of the firearm, and (2) the firearm functioned as

   designed and intended by the manufacturer.

       §7901 (b) (1) “To prohibit causes of action against manufacturers …of firearms or

   ammunition products …. for the harm solely caused by the criminal or unlawful misuse of

   firearm products … when the product functions as designed and intended.” (Emphasis

   added)

            In this case, the clear and convincing evidence shows beyond a reasonable doubt that

   the “harm” was not “solely caused” by the “malum prohibitum” act 6 of Lefebre ignorantly

   transporting a loaded firearm. The “harm” was solely caused by the discharge of a defective

   product that didn’t function as intended by company design. The Hon. 8th Circuit got it right:

   “A rifle originally manufactured in this condition which allows for the possibility of the rifle

   discharging without pulling the trigger, is defective and not fit for its ordinary purpose. (Id.

   O’Neal vs Remington)




   6
     An act made a crime merely because it is prohibited by statute, although the act is not necessarily
   immoral. A “malum prohibitum” offense is not a wrong which is prohibited, but something which is
                                                                                th
   wrong only in the sense that it is against the law. Black’s Law Dictionary (8 Ed. 2004)

                                                     12
Case 2:17-cv-00152-GJQ-TPG ECF No. 34 filed 02/01/18 PageID.343 Page 13 of 25



                            1st AMENDED COMPLAINT ALLEGATIONS

         The Remington Model 700 bolt action hunting rifle (rifle) equipped with an X-Mark Pro

(XMP) fire control is the subject of this action. The rifle was negligently manufactured and

assembled in a defective condition and purchased new by Jose’ Lefebre in 2010 7 at a Remington

distributor. (1st Amended Complaint at ¶7)

         All bolt action hunting rifles manufactured and sold by Remington after WWII were

intended by design to discharge (fire) when the “trigger” is pulled and only when the “trigger” is

pulled. (Id at ¶10) The XMP Model 700 was not designed to unintentionally discharge (fire)

under any condition; especially not when the “safety” moved to the “F” (fire) position from

either the “S” (Safe) or “null” positions or if the rifle should get bumped during handling when

the safety was in the “F” (Fire) position. (Id at ¶17)

         The XMP Model 700 safety lever (1st Amended Ex 2) is located behind the bolt

convenient for the shooters thumb to move the lever forward and back from “S” (safe) to “F”

(fire). (Id at ¶ 15) The trigger is surrounded by a trigger guard (1st Amended Ex 3) designed to

protect against inadvertent pull action. (Id at ¶18)

         Lefebre and daughter Shellsea were hunting deer on Drummond Island the weekend of

September 20, 2014 in the company of Nathan Ernst, a college student, and 12-year old sister

Sarah. Shellsea Lefebre was issued a special youth DNR hunting license. (Id at ¶ 29) Lefebre

was unaware he could not lawfully transport a loaded rifle in his vehicle, although he knew he

could not shoot while inside his vehicle. (Id at ¶ 30)

         Lefebre went looking for deer on the morning of September 21st. His vehicle was a four-

door pickup. He loaded the Model 700 rifle and made sure the thumb safety was in the “safe”

position. He then positioned the rifle with the buttstock at the passenger’s floorboard and the
   7
       The date of sale was erroneously stated to be 2011.The date of manufacture was April 2009.

                                                     13
Case 2:17-cv-00152-GJQ-TPG ECF No. 34 filed 02/01/18 PageID.344 Page 14 of 25



barrel resting on the right-front passenger’s window. (Id at ¶ 31) Shellsea joined her father later

that morning as a non-hunting passenger. She seated herself in the right-front passenger’s seat.

The rifle with the buttstock on the floorboard and to the left of her left leg was repositioned so

the rifle barrel was pointed aft. (Id at ¶ 32)

        Lefebre and daughter returned to camp and met Ernst and his sister. Later, around noon,

the four decided to drive to town for lunch. Ernst occupied the right front seat, Shellsea the left

rear behind her father with Ernst’s sister in the right rear seat. (Id at ¶ 33) The rifle was

positioned between Ernst’s left leg and an interior vehicle panel and remained pointing rearward

as Lefebre drove along a dirt road heading to intersect the main road into town. The plan was to

stop near the main road intersection and unload and case the rifle. (Id at ¶ 34)

        The rifle suddenly fired without anyone touching or pulling the trigger. The bullet struck

Shellsea killing her instantly. (Id at ¶ 35) The fatal, unintended discharge was proximately

caused by undetected errors in Remington’s assembly process (excess Loctite on the blocker

screw) that fouled the fire control making it vulnerable to unintentional discharge from a slight

jarring motion or movement of the safety lever. (Id at ¶ 43)

        The Chippewa Sheriff confirmed the rifle discharge was not caused by either Lefebre or

his front passenger pulling the trigger. (Id at ¶ 37)

        Detective Postma at preliminary examination (Brief Exhibit 4) testified that neither

    Lefebre nor Ernst (the front passenger) touched the rifle.

    Q. Nathan Ernst – he was the 19-year old in the passenger side of the vehicle?
    A. Yes
    Q. And you interviewed him?
    A. I did along with Deputy Hering, yes
    Q. And as far as you are aware this 19-year old testified that he’s unaware of what caused
    this gun to trigger; is that fair?
    A. Yes



                                                    14
Case 2:17-cv-00152-GJQ-TPG ECF No. 34 filed 02/01/18 PageID.345 Page 15 of 25



   Q. And just so we’re clear, the reenactment that you conducted places that gun within the
   purview of the passenger side of the vehicle; is that fair?
   A. That’s correct.
   Q. And there is a console that separates the two seats; is that fair?
   A. That’s correct.
   Q. And is it your understanding that the gun triggered or went off while my client was
   driving the vehicle; is that fair?
   A. The vehicle was in motion; you made a motion with both hands. I just testified that he told
   you he used the right hand and reached down.
   Q. Okay. But just so we’re clear he never testified he touched the gun; did he?
   A. No.
   Q. He said he never touched the gun in fact, didn’t he?
   A. Right
   Q. Okay. In fact, the testimony you’ve gotten so far is that no one touched the gun to make it
   for {sic} off; isn’t that fair? 8
   Q. Yep.


         A close up photo of Lefebre’s rifle (1st Amended Ex 2) shows the vertically protruding

safety lever that easily could hook the charger cord during the positioning of the rifle causing the

safety lever to move forward from “S” to “F” as the rifle was moved backward with stock resting

on the floor.

         Unbeknownst to Lefebre or the front passenger, the thumb safety lever apparently caught

on a phone charger cord during the initial positioning of the rifle or later re-positioning. The

entanglement caused the dangerously movable safety lever to easily travel to either into the “F”

position or the “null position. The Loctite sticky blocker screw pulled the trigger block forward

likely creating precipitous sear engagement which later became completely disengaged firing the

rifle and killing the innocent passenger. Alternately, the sticky blocker screw pulled the trigger

block from under the sear when the safety lever moved to the “F” position from either “S” or

“null” position. One or the other of these probable malfunction scenarios caused Lefebre’s rifle

to discharge and kill his daughter. (Id at ¶ 44)



   8
       “For off” was obviously meant to be “fire off”; most likely a transcription typo.

                                                          15
Case 2:17-cv-00152-GJQ-TPG ECF No. 34 filed 02/01/18 PageID.346 Page 16 of 25



       Detective Postma investigation report confirmed: “a very recently severed charger cord

with the point of severance in close proximity of the trigger” (and the safety lever). Severance of

the tangled cord is thought to have occurred from the rifle’s blast recoil that ripped the cord

from the DC plug.” (Id at ¶36)

       Six photos are attached to Lefebre’s affidavit depicting the position of the rifle at the

moment of discharge. (Brief Exhibits 2A- 2F)

       Lefebre was initially prosecuted for two felonies. But after the extenuating circumstances

were learned, the case was disposed on 2/13/17 with pleas of “no contest” to two high

misdemeanors: Attempted transporting of a loaded firearm (MCL 750.227 C (A) and Allowing a

Firearm under Control to Discharge and Kill (MCL 752.861(A). Under an Order Delaying

Sentence (Brief Exhibit 5) the charges will be dismissed on 3/29/18. 9 But for want of a $100

license, no “crime” would have been committed.

        Two Remington engineers confirm the product defect. Jim Ronkainen, the lead engineer

   who developed the XMP Model 700, gave candid deposition testimony in the North Carolina

   McNeal.

   (T16-17)
   Q. We know now that a large number of XMP rifles manufactured between 2006 and April of
   2014 were defectively manufactured, do you agree with that?
   A. We found that there was Loctite between the blocker screw and the front of the trigger
   that, when it was in a liquid form, could be problematic in a certain temperature range,
   which caused us to do the recall that was put forth in April of last year.
   Q. And what I’m asking you today is, in your opinion, that –that was mistake that happened
   in the manufacturing process, right, sir?
   A. It was, yeah, the application of excess Loctite to the trigger assembly was not intended
   with the design.

   (T12)
   Q: The fact that the rifle will fire when it’s under, quote, unquote, factory specifications
   without the trigger being pulled, that’s a serious issue, isn’t it, Mr. Ronkainen?

   9
     MCL.750.227c (Transporting a loaded firearm) was enacted in 1981.Today, 7% of Michigan citizens
   (500,000) are licensed to carry and transport a loaded firearm. The fee is $100.00.

                                                  16
Case 2:17-cv-00152-GJQ-TPG ECF No. 34 filed 02/01/18 PageID.347 Page 17 of 25



   A. The gun is supposed to fire when the trigger’s pulled, not when the safety is moved.
   Q. Only when the trigger is pulled, yes, sir? Yes, sir?
   A. Yes

   (T45-6)
    The 2010 Breeze video was viewed during the deposition.
   Q. What do you think when you see that video?
   A. The trigger assembly is behaving in an undesirable fashion.
   Q. That’s an extremely dangerous condition you just witnessed, isn’t it.
   A: Yes

       Derek Hawkins, the other Remington engineer, testified a day earlier: (T 59)

    Q. So any firearm that left the factory with this Loctite on the tip of the blocker screw or the
   engagement screw, in the time period we just discussed would have been defectively
   manufactured then, right?
   A. Any X-Mark Pro that left the factory between 2006 to 2014 recall date that had liquid
   Loctite on the tip of the blocker was not to design specifications.

                                            ARGUMENT

              Issue I: Under the cognizable facts of the instant case as stated in the 1st

   Amended Complaint, The Protection of Lawful Commerce in Arms Act (PLCAA), 15

   U.S.C. §7901 et seq. does not apply so as to preclude this Action

      The express purpose of the PLCAA is “To prohibit causes of action against

   manufacturers of firearms for the harm solely caused by the criminal or unlawful misuse of

   firearm products or ammunition products by others when the product functioned as

   designed and intended.” 15 U.S.C. § 7901(b) (1) (2006).

       The “discharge” of the rifle and death of Shellsea Lefebre was not caused by

   transportation. Her father could have driven around Drummond Island all day and night with

   no harm possibly coming to anyone in or outside the vehicle so long as the rifle was

   functioning as Remington had designed and no one pulled the trigger. The death of Shellsea

   Lefebre was exclusively caused by the “discharge” of a defective Remington rifle that on

   September 21, 2014 was not functioning as Remington had intended by its design.

                                                  17
Case 2:17-cv-00152-GJQ-TPG ECF No. 34 filed 02/01/18 PageID.348 Page 18 of 25



              Statutes in derogation of the common law must be strictly construed, and will not

   be extended by implication to abrogate established rules of common law. Rusinek v Schultz

   Lumber Co., 411 Mich.502, 508 [309 N.W. 2d 163] (1981). The scope of the PLCAA must

   not be expanded beyond congress’ clearly expressed purpose.

        The uncontested facts of this case show the two-part test at of the PLCAA has not been

   met; (1) The death was not solely caused by the criminal or unlawful misuse of the firearm

   and (2) the firearm was not functioning as designed and intended by Remington. The

   PLCAA therefore does not apply as ground to dismiss Plaintiff’s complaint.

       Issue II: The Protection of Lawful Commerce in Arms Act (PLCAA), 15 U.S.C.

   §7901 et seq. does not preclude maintenance of this combined negligence and products

   liability action brought on behalf of the estate of an innocent victim on the cognizable

   facts alleged in the Complaint; the action may go forward by virtue of 15 U.S.C.

   §7903(5)(A)(v).


          One of the purposes of the PLCAA is “To prohibit causes of action against

   manufacturers .… of firearms or ammunition products …. for the harm solely caused by the

   criminal or unlawful misuse of firearm products or ammunition products by others when the

   product functioned as designed and intended.” 15 U.S.C. § 7901(b)(1) (2006). To that end,

   the PLCAA provides that “[a] qualified civil liability action may not be brought in any

   Federal or State court” (15 U.S.C. § 7902(a).

        Congress defined a “qualified civil liability action” in 15 U.S.C. § 7903(5)(A) as:

      a civil action or proceeding or an administrative proceeding brought by any
      person against a manufacturer or seller of a qualified product, or a trade
      association, for damages, punitive damages, injunctive or declaratory relief,
      abatement, restitution, fines, or penalties, or other relief, resulting from the



                                                   18
Case 2:17-cv-00152-GJQ-TPG ECF No. 34 filed 02/01/18 PageID.349 Page 19 of 25



      criminal or unlawful misuse of a qualified product by the person or a third party *
      * *.

       A “qualified product” means a firearm, or ammunition, or a component part of a firearm

   or ammunition, “that has been shipped or transported in interstate or foreign commerce.” 15

   U.S.C. § 7903(4) (2006). Defendant Remington has no manufacturing facilities in Michigan,

   where its product was purchased, so there is no dispute that the rifle at issue traveled in

   interstate commerce.

          Granting that the PLCAA narrowly immunizes firearms manufacturers from certain

   kinds of tort liability actions provided the harm is solely done by a firearm functioning as the

   manufacturer designed and intended, the statute contains a variety of exceptions, one of

   which has been correctly identified by defendant as key to this motion. 15 U.S.C.

   §7903(5)(A)(v) provides: that a qualified civil liability action shall not include:

      an action for death, physical injuries or property damage resulting directly from a
      defect in design or manufacture of the product, when used as intended or in a
      reasonably foreseeable manner, except that where the discharge of the product
      was caused by a volitional act that constituted a criminal offense, then such act
      shall be considered the sole proximate cause of any resulting death, personal
      injuries or property damage.

      This lawsuit is an “action for death * * * resulting directly from of a defect in design or

   manufacture of the product, when used as intended or in a reasonably foreseeable manner”,

   as defendant concedes (at least for motion purposes), and as the Complaint, accepted as true,

   asserts. Defendant, however, contends that discharge of the rifle “was caused by a volitional

   act that constituted a criminal offense” and thus that such criminal act “shall be considered

   the sole proximate cause of any resulting death”. The issue thus framed concerns what really

   caused the rifle to fire. Was the discharge “caused by a volitional act that constituted a




                                                  19
Case 2:17-cv-00152-GJQ-TPG ECF No. 34 filed 02/01/18 PageID.350 Page 20 of 25



   criminal offense” or was it caused by Remington’s admitted manufacturing defect that

   allowed the rifle to fire without the trigger being pulled?

       The Complaint alleges that neither Lefebre nor his front passenger was touching the rifle

   when it fired. The detective sheriff confirmed Lefebre was driving the vehicle. The product

   defect that allowed the rifle to fire without a trigger pull has been confirmed by the

   deposition testimony of Remington engineers. The admitted defect clearly caused the

   discharge and not the act of transporting a loaded firearm. Remington’s errant “volitional

   act” argument will nevertheless be discussed and refuted.

      Ordinarily “[t]he proper analysis for determining the applicability of the PLCAA is two-

   fold,” requiring first a determination whether the lawsuit in question is a “‘qualified civil

   liability action’” and second an analysis whether, if it is, “any of the PLCAA’s six exceptions

   to this definition apply.” Ryan v. Hughes-Ortiz, 81 Mass.App.Ct. 90; 959 N.E.2d 1000, 1007

   (2012). Here, the first step has been surmounted and it is the second that concerns us now.

       Black’s Law Dictionary defines volition as: “(1) The ability to make a choice or

   determine something. (2) The act of making a choice or determining something. (3) The

   choice or determination that someone makes.” Black’s Law Dictionary 1605 (8th ed.2004).

        Likewise, Webster’s defines volition as: “the act of willing or choosing: the act of

   deciding (as on a course of action or an end to be striven for): the exercise of the will.”

   Webster’s Third New International Dictionary 2562 (1993). Webster’s defines volitional as

   “of, relating to, or of the nature of volition: possessing or exercising volition.” Webster’s

   Third New International Dictionary 2562 (1993). While transporting the rifle loaded was a

   criminal act, according to the Complaint, which is accepted as true, the discharge of the rifle




                                                  20
Case 2:17-cv-00152-GJQ-TPG ECF No. 34 filed 02/01/18 PageID.351 Page 21 of 25



   was accidental caused by the manufacturers admitted defect, which does not fit either the lay

   or law dictionary definition of “volitional act”.

      Defendant wants this Court to construe the statutory language as divorcing criminal act

   from consequences. Under defendant’s misreading of the statutory language, if there was

   anything criminal in relation to the firearm, it is immune from tort liability. But Congress did

   not so provide; Congress very clearly legislated that the discharge of the firearm must not

   only be directly linked to the “volitional [criminal] act”, the “harm” must be “solely caused”

   by criminal or unlawful misuse “when the product functioned as designed and intended.”

      In the only case with similar facts to address the application of 15 U.S.C.

   §7903(5)(A)(v)—discharge of a firearm, preceded by criminal activity which did not directly

   cause the discharge—the court rejected the manufacturer’s recasting of the statutory

   language:

              In any event, there are triable issues of fact whether Chavez’s lawsuit falls
      within the exception to the Act for product defect actions under the second step of
      the analysis. (15 U.S.C. § 7903(5)(A)(v).) Chavez focuses on his son’s actions in
      firing the weapon and argues the discharge of the pistol was not caused by a
      volitional criminal act because his three-year-old son did not possess the requisite
      criminal intent (that, is knowledge of wrongfulness) when he pulled the trigger.
      (See Pen. Code, § 26 [children under age of 14 are not capable of committing a
      crime “in the absence of clear proof that at the time of committing the act charged
      against them, they knew its wrongfulness”].) Glock and Revolver Club dispute
      the exception applies, looking not to Collin’s actions, but Chavez’s. They argue
      the discharge of the gun was caused by Chavez’s volitional criminal acts of
      leaving the loaded pistol unsecured in his truck and placing Collin in the
      back seat of his truck, just a few feet away from the pistol, without being
      secured in a child car seat.

            Unlike the definition of “a qualified civil liability action,” which broadly
      includes any civil action “resulting from the criminal or unlawful misuse” of a
      firearm, Congress much more narrowly defined the exclusion from excepted
      product defect suits to apply only if “the discharge of the product was caused
      by a volitional act that constituted a criminal offense. . . .” (15 U.S.C. §
      7903(5)(A)(v).) By specifically linking the actual act of discharge to the
      criminal offense, as it did, we do not believe Congress intended, as Glock and

                                                  21
Case 2:17-cv-00152-GJQ-TPG ECF No. 34 filed 02/01/18 PageID.352 Page 22 of 25



      Revolver Club argue, to allow any unlawful act in the causal chain, however
      remote from the actual firing of the weapon, to defeat the exclusion. Indeed,
      to construe the exclusion as expansively as do Glock and Revolver Club,
      would effectively eliminate the exception for product design defect claims
      expressly provided by Congress.

   Chavez v. Glock, Inc., __ Cal.Rptr.3d __, 207 Cal.App.4th 1283, 1317-1318 (2012)

   (boldfaced emphasis supplied).

      This result is also consistent with the judicially developed meaning of “volitional act”,

   which is terminology arising in contexts unrelated to, and preceding, enactment of the

   PLCAA, but nonetheless involving firearms—such as contract interpretation and 4th

   Amendment jurisprudence. Thus, in Atlantic Casualty Insurance Co. v. Paradise Club, 219

   F.Supp.3d 938, 947 (W.D. Ark., 2016) the court held (boldfaced emphasis added):

              In the present case, the word “use” is included in the policy definition of
      “assault and/or battery.” The Court is bound to the definition of the terms as
      defined in the policy and, therefore, the definition of “assault and/or battery” in
      the policy supersedes the common law or popular definitions of those words.
      However, the definition provided in the policy fails to explicitly state whether
      intent or volition is required on the part of the party causing the injury. That being
      said, the inclusion of the word “use” in the policy establishes that, in the very
      least, some volitional action is required on the part of the party who causes
      the injury. The word “use,” in the “plain, ordinary, and popular sense,”
      necessarily implies a “user” who has the ability to employ an object as a means to
      achieve some ends.

            Further, taking into account the context in which “use” appears, namely, a
      provision discussing “assault and/or battery” and in conjunction with the terms
      “gun, firearm, knife, or weapon of any kind,” it becomes clear that in order
      to fall under the exclusion not only must the injury be caused by a volitional
      act, but the user must be utilizing the gun as one would any weapon: as a
      means of intimidation or causing injury. Such an interpretation is in accord
      with the terms in a “plain, ordinary, and popular sense” and is a “practical,
      reasonable, and fair interpretation consonant with the apparent object and intent of
      the parties in light of their general object and purpose.”
      To like effect is Brice v. City of York, 528 F.Supp.2d 504, 510-511 (M.D. PA, 2007):

      This court has previously addressed the volition necessary for an excessive force
      claim. In Troublefield v. City of Harrisburg, the court considered the excessive
      force claim of a plaintiff accidentally shot by the officer arresting him. See id. at

                                                 22
Case 2:17-cv-00152-GJQ-TPG ECF No. 34 filed 02/01/18 PageID.353 Page 23 of 25



      162. The officer was on patrol alone and had drawn his sidearm during the course
      of the arrest. See id. at 161-62. He handcuffed the plaintiff and was returning the
      weapon to its holster when it accidently fired, shooting the plaintiff in the leg. See
      id. at 162. The plaintiff argued that the accidental discharge of the weapon
      warranted Fourth Amendment liability because the plaintiff was seized by the
      application of handcuffs when the firearm discharged. Id. at 166. This court
      rejected the plaintiff’s argument, holding: “[S]ome nature of volitional act on
      the part of the state actor must cause the harm to plaintiff for a fourth
      amendment excessive force claim to sound. Negligence in pulling out a
      firearm or in re-holstering it is not sufficient in this court’s view” to hold a
      defendant liable for an excessive force violation. Id.

      In Clark v. Buchko, 936 F. Supp. 212, 219-220 (NJ, 1996), the court reviewed a litany of

   4th Amendment cases involving accidental (or at least unintentional) discharge of firearms,

   concluding none presented a “volitional act” (boldfaced emphasis added):

               Following Brower, at least three courts have applied Brower in the context
      of accidental shootings of suspects in the course of an arrest or seizure.
      Troublefield v. City of Harrisburg, 789 F.Supp. 160 (M.D.Pa.1992), aff’d 980
      F.2d 724 (3d Cir. 1992); Matthews v. City of Atlanta, 699 F.Supp. 1552
      (N.D.Ga.1988); Glasco v. Ballard, 768 F.Supp. 176 (E.D.Va.1991). Additionally,
      at least one court prior to Brower addressed whether an accidental shooting could
      constitute a seizure. Dodd v. City of Norwich, 827 F.2d 1 (2d Cir. 1987);

            In Matthews, supra, a police officer was in the process of arresting the
      decedent when his gun accidentally discharged. The accident occurred when the
      truck operated by the decedent “unexpectedly lurched forward causing contact
      with the truck’s door and the officer’s hand or weapon.” Matthews v. City of
      Atlanta, 699 F.Supp. 1552, 1555 (N.D.Ga.1988). In Glasco, supra, the police
      officer pulled over a shoplifting suspect. As the officer exited his vehicle and
      drew his weapon, his police car began to roll. In order to stop the vehicle, the
      officer leaned back into the car, put his foot on the brake and placed the car in
      park. In the process, the gun accidentally discharged. Glasco v. Ballard, 768
      F.Supp. 176, 177 (E.D.Va.1991). In Dodd, supra, the decedent, an apprehended
      burglar, was inadvertently shot “during a struggle initiated by him in an attempt to
      disarm the arresting officer and after he had apparently surrendered.” Dodd v. City
      of Norwich, 827 F.2d 1, 7 (2d Cir. 1987). In Troublefield, supra, the plaintiff had
      just been handcuffed when the officer began to re-holster his gun. Troublefield v.
      City of Harrisburg, 789 F. Supp. 160, 162 (M.D.Pa.1992), aff’d 980 F.2d 724 (3d
      Cir. 1992). As he did so, the plaintiff was accidentally shot.

           In all four cases, the courts concluded that the plaintiffs could not maintain
      Fourth Amendment claims against the officers because the officers lacked intent
      to seize the victims by firing the guns. Further, the courts were unpersuaded by

                                                 23
Case 2:17-cv-00152-GJQ-TPG ECF No. 34 filed 02/01/18 PageID.354 Page 24 of 25



      the argument made by the plaintiffs in the instant case that once a seizure
      had occurred, all claims for excessive use of force, whether volitional or not,
      are governed by the Fourth Amendment “reasonableness” standard. As the
      court in Troublefield explained:

          The court can see no principled reason for applying what is essentially a
          negligence standard (i.e. “reasonableness”) to an officer’s conduct in a
          situation where a suspect is accidentally shot while in the process of being
          apprehended (only moments after the initial confrontation, one may
          surmise), but in holding that no fourth amendment “seizure” is present
          where an officer is chasing a suspect and his gun accidentally discharges.
          See Dodd v. City of Norwich, 827 F.2d 1, 7-8 (2d Cir. 1987) (discussing
          place of negligence concepts in fourth amendment jurisprudence). If
          Salada had intended to shoot, he would have upped the ante and, in effect,
          brought about a second seizure of Troublefield. This is, as recognized by
          many of the cases discussed above, a fine distinction.
      Id. at 166.

           Application of those cases compels this court to dismiss plaintiffs’ fourth
      amendment claims. Although plaintiffs acknowledge Troublefield, the plaintiffs’
      attempt to distinguish the case is unpersuasive. The simple fact of this case is
      that Clark was not intentionally shot. Plaintiffs attempt to distinguish
      Troublefield by citing their expert, who suggests that Buchko acted with
      “recklessness” or “gross negligence.” Terms aside, plaintiffs acknowledge that
      Buchko did not commit a volitional act in firing the gun. As the Supreme
      Court explained in Brower, no seizure occurs unless “there is a governmental
      termination of freedom of movement through means intentionally applied.”
      Brower v. Inyo County, 489 U.S. 593, 597, 109 S.Ct. 1378, 1381, 103 L.Ed.2d
      628 (1988). Accordingly, plaintiffs cannot maintain a Fourth Amendment claim.

      In contrast, in an unpublished habeas corpus decision, the Sixth Circuit had no difficulty

   finding a “volitional act” where the party discharging a firearm actually pulled the trigger

   deliberately. In Henry v. Martin, 105 Fed. Appx. 786, 791-792 (6th Cir. 2004), the Court

   quoted approvingly from the state appellate court’s decision (boldfaced emphasis added):

      The district court succinctly and persuasively stated why the Court of Appeals’
      conclusion with regards to prejudice was objectively reasonable:

          [T]he evidence that petitioner intentionally discharged the firearm
          was exceedingly strong, if not overwhelming. The evidence showed that
          petitioner argued with his wife who accused him of having no self-
          control, then announced that he would “show her some self-control,” or
          words to that effect, and took a handgun from the dresser drawer.

                                                24
Case 2:17-cv-00152-GJQ-TPG ECF No. 34 filed 02/01/18 PageID.355 Page 25 of 25



          These were intentional acts indicating purposeful action in response to
          a perceived insult or slight. Next, petitioner put a clip or magazine
          into the gun, another intentional act. Petitioner testified that he
          normally stored the gun with the safety on. If this was the case on the
          day of the incident, it would have required another intentional,
          volitional act to disengage the safety before the gun could be fired.
          Petitioner then fired the gun. Michigan State Police Sergeant James
          Dowling testified that he tested the trigger of the [gun] used in the incident
          and found that it took between nine and ten pounds of pressure on the
          trigger to cause the gun to fire. This is a substantial amount of pressure on
          the trigger, again suggesting an intentional act. It is also noteworthy that
          petitioner pointed the gun at a wall before firing it. This also indicates
          intentional action, where petitioner sought to make a point, however
          recklessly and foolishly, but did not intend to injure his wife or child, both
          of whom were present when he pointed the gun at the wall and fired it.
          Further, ... there was no testimony that petitioner staggered or stumbled or
          fell or bumped into anything when the gun discharged.

      Under the facts pleaded in the Complaint, the accidental discharge of the defective rifle

   manufactured by defendant, at a time when no person’s finger was on the trigger, and no

   person’s hand was on the gun, was not a “volitional act” directly connected to criminal

   activity. Accordingly, 15 U.S.C. §7903(5)(A)(v)’s exception to denial of immunity for

   product liability claims is not applicable, and the motion to dismiss must be denied.

   Dated this 29th Day of January, 2018

                                             Respectfully submitted:

                                             /s/ Leonard A. Siudara
                                             Attorney for Plaintiff, (P20542)
                                             5865 Andover Ct.
                                             Troy, MI 48098
                                             248-417-7300
                                             budatlaw@msn.com




                                                 25
